                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:07-cr-61
 vs.                                                )                1:08-cr-109
                                                    )       JUDGE COLLIER
 TIMOTHY P. BROWN                                   )



                                MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on December 4, 2012, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
 Warrant for Offender Under Supervision (Petition) of U.S. Probation Officer Donna Rankin and
 the Warrant for Arrest issued by U.S. District Judge Curtis L. Collier. Those present for the
 hearing included:

               (1) AUSA Michael Porter for the USA.
               (2) Defendant TIMOTHY P. BROWN.
               (3) Attorney Gianna Maio for defendant.
               (4) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         It was determined the defendant wished to be represented by an attorney and he qualified
 for the appointment of an attorney to represent him at government expense. Federal Defender
 Services of Eastern Tennessee, Inc. was APPOINTED to represent the defendant. It was
 determined the defendant had been provided with a copy of the Petition and the Warrant for
 Arrest and had the opportunity of reviewing those documents with his attorney. It was also
 determined the defendant was capable of being able to read and understand the copy of the
 aforesaid documents he had been provided.

        Defendant waived his right to a preliminary hearing and detention hearing.

        AUSA Porter moved defendant be detained pending a hearing to determine whether his
 term of supervision should be revoked.




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                                           Findings

       (1) Based upon U.S. Probation Officer Donna Rankin=s petition and defendant=s
       waiver of preliminary hearing and detention hearing, the undersigned finds there
       is probable cause to believe defendant has committed violations of his conditions
       of supervised release as alleged in the petition.

                                         Conclusions

       It is ORDERED:

       (1) The defendant shall appear in a revocation hearing before U.S. District
       Judge Curtis L. Collier.

       (2) The motion of AUSA Porter that defendant be DETAINED WITHOUT BAIL
       pending his revocation hearing before Judge Collier is GRANTED.

       (3) The U.S. Marshal shall transport defendant to a revocation hearing before
       Judge Collier on Thursday, December 20, 2012, at 9:00 am.

       ENTER.

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                                           UNITED STATES MAGISTRATE JUDGE




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